Case 2:17-cv-14202-GAD-EAS ECF No. 23, PageID.462 Filed 06/26/19 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


DENNIS WILLARD,
                                                Case No. 17-14202
            Plaintiff,
                                                SENIOR U.S. DISTRICT JUDGE
v.                                              ARTHUR J. TARNOW

HUNTINGTON FORD, INC.,                          U.S. MAGISTRATE JUDGE
                                                ELIZABETH A. STAFFORD
            Defendant.

                                     /

                                 JUDGMENT

     All issues having been resolved by the Court’s Order [22] of June 26, 2019,

THIS CASE IS CLOSED.

     Dated at Detroit, Michigan, this 26th day of June 2019.


                              DAVID J. WEAVER
                              CLERK OF THE COURT

                              BY:s/Michael E. Lang
                              Deputy Clerk

Approved:

s/Arthur J. Tarnow
ARTHUR J. TARNOW
SENIOR UNITED STATES DISTRICT JUDGE



                                  Page 1 of 1
